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                                     UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF VIRGINIA

                                                          Alexandria              Division

In re Bluepoint Medical Associates, LLC

                                                                                     Case No.        19-13121-KHK

                                          Debtor(s)                                  Chapter         11



                                              ORDER EXTENDING TIME
                                    TO FILE LISTS, SCHEDULES AND STATEMENTS



        The above debtor(s) having timely filed a motion to extend the time for filing certain required lists, schedules
and statements pursuant to Local Rule 1007-1(B); it is, therefore

                                                                                         10/18/2019
         ORDERED, under authority of Local Rule 1007-1(C), the time is extended to ____________________, for
filing the following:
All Schedules and Statement of Financial Affairs
Summary of Your Assets and Liabilities and Certain Statistical Information
List of Equity Security Holders
Attorney Fee Disclosure and Small Business: Balance Sheet, Statement Of Operations, Cash Flow Statement,
Federal Income Tax Returns (or perjury statement of none)


                                                                          WILLIAM C. REDDEN
                                                                          Clerk of Court

                                                                             /s/ Kimberly J Chandler
                                                                          By __________________________________________
                                                                                         Deputy Clerk

      October 1, 2019
Date: _____________________________
                                                                          NOTICE OF JUDGMENT OR ORDER
                                                                          ENTERED ON DOCKET:
                                                                          October 1, 2019
                                                                          ________________________________




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